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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:08CR226
                              )
          v.                  )
                              )
BRUCE BALDWIN,                )                      ORDER
                              )
               Defendant.     )
______________________________)


          Defendant Bruce Baldwin has filed a Motion to

Reconsider Detention (Filing No. 95), proposing a release to the

HERO Program at the Stephens Center.         Upon consideration of this

motion,

          IT IS ORDERED:

          1) That the defendant be released as proposed after

processing on Monday, September 23, 2013, prior to 9 a.m.                The

Office of the Federal Public Defender will transport defendant

Baldwin from the U.S. Marshal’s Office directly to the Stephens

Center to begin residential treatment at 9 a.m., or as soon

thereafter as practical.

          2) The release of the defendant is subject to the

following conditions:

          (1)    The defendant shall not commit any
                 offense in violation of federal, state
                 or local law while on release in this
                 case.
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          (2)   The defendant must cooperate in the
                collection of a DNA sample if the
                collection is authorized by 42 U.S.C. §
                14135a.

          (3)   The defendant shall immediately advise
                the court, defense counsel and the U.S.
                attorney in writing before any change in
                address and telephone number.

          (4)   The defendant shall appear at all
                proceedings as required and shall
                surrender for service of any sentence
                imposed as directed.

          (5)   Truthfully report to the United States
                Probation Office as directed [telephone
                no. (402) 661-7555] and comply with
                their directions.

          (6)   Maintain or actively seek employment.

          (7)   Maintain or commence an educational
                program.

          (8)   Obtain no passport. Surrender any
                passport to U.S. Probation Office.

          (9)   Abide by the following restrictions on
                personal associations, place of abode,
                or travel: Not leave Douglas and Sarpy
                Counties, Nebraska.

          (10) Reside at the Stephens Center, HERO
               Program, in Omaha, Nebraska facility at
               all times and comply with all the rules
               of such facility. In the event that the
               defendant is discharged from the
               facility for any reason whatsoever, or
               leaves the premises of the facility
               without authorization, the United States
               Marshal, and/or any law enforcement
               officer is ordered to take the defendant
               into custody and detain the defendant
               pending a prompt hearing before the
               court to review the conditions of
               release.


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          (11) Participate in mental health counseling
               as deemed necessary by the Probation
               Officer after an appropriate evaluation
               and recommendation for treatment by a
               mental health professional; sign
               authorization for the release of
               information to the United States
               Probation Office.

          (12) Not possess a firearm, destructive
               device, or other dangerous weapon.

          (13) Refrain from any use or possession of
               alcohol. Not possess or use a narcotic
               drug or other controlled substances
               defined in 21 U.S.C. § 802 unless
               prescribed by a licensed medical
               practioner. Defendant shall submit to
               any method of testing at his own expense
               as required by the officer for
               determining whether the defendant is
               using a prohibited substance. Such
               methods may be used with random
               frequency and may include urine testing,
               the wearing of a sweat patch, blood
               tests, and/or a remote alcohol testing
               system. Defendant shall not obstruct or
               attempt to obstruct or tamper in any
               fashion with the efficiency and accuracy
               of any substance testing equipment, nor
               submit samples of body fluids which are
               not his own, nor otherwise adulterate
               any samples submitted for testing. All
               collections of fluids for testing shall
               be at the defendant's expense, payable
               at the time of collection.

          (14) Report as soon as possible to the
               supervising officer any contact with law
               enforcement personnel, including, but
               not limited to, any arrest, questioning,
               or traffic stop.

          (15) Make a full disclosure of his finances
               and submit to an audit of his financial
               documents, at the request of the
               supervising officer. The defendant is
               prohibited from incurring new credit

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                charges or opening addition lines of
                credit without the approval of the
                supervising officer.

          (16) Not be with, associate with, or
               communicate with persons known or
               suspected to be or to have been involved
               in drug use or trafficking or weapons
               possession or weapons trafficking
               without the prior approval of the
               supervising officer or the Court except
               immediate family members; and/or other
               participants of the HERO Program.

          DATED this 20th day of September, 2013.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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